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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA «5s, .,.
TAMPA DIVISION . : ”

UNITED STATES OF AMERICA

v. CASENO. 8:21 Cr 2370 KKM — Tew
HAO KUO CHI 18 U.S.C. § 371
a/k/a “David Chi” 18 U.S.C. § 1030
a/k/a “icloudripper4you” 18 U.S.C. § 1029
INFORMATION

The United States Attorney charges:
COUNT ONE
A. Introduction

At all times material to this Information:

1. HAO KUO CHI (“CHI”), also known as “David Chi” and
“icloudripper4you,” resided in Los Angeles County, California, within the Central
District of California. One of CHI’s conspirators (“Conspirator #1”) is believed to
have resided in Lake County, Florida, within the Middle District of Florida. A.K..,
J.K., and K.N. were victims who resided in the Middle District of Florida.

2. Apple was a United States company that produced the iPhone, iPad,
and iPod Touch, all of which used the iOS operating system, and desktop and laptop
computers based on the Mac OS operating system. Apple provided a variety of
services that were accessible from Apple devices or, in some cases, other devices via

web browsers or mobile and desktop applications.
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3. iCloud was a file hosting, storage, and sharing service provided by
Apple. Apple provided users with five gigabytes of free electronic space on iCloud,
and users could purchase additional storage space. That storage space could contain
data associated with the use of 1Cloud-connected services, including: email; images
and videos; documents, spreadsheets and presentations; and web browser settings
and Wi-Fi network information. iCloud could also be used to store iOS device
backups, which could contain a user’s photos and videos, iMessages, Short Message
Service and Multimedia Messaging Service messages, voicemail messages, call
history, contacts, calendar events, reminders, notes, app data and settings, and other
data.

4, Apple services, such as iCloud, were accessible through the use of an
“Apple ID,” an account created during the setup of an Apple device or through the
iTunes or iCloud services. A single Apple ID could be linked to multiple Apple
services and devices, serving as a central authentication and syncing mechanism. An
Apple ID took the form of the full email address submitted by the user to create the

account. The Apple ID could be used to access most Apple services, including

iCloud.
B. The Conspiracy
5. Beginning on an unknown date, but from as early as in or around

September 2014, and continuing through the date of this Information, in the Middle
District of Florida and elsewhere, CHI did knowingly and willfully combine,
conspire, confederate, and agree with others known and unknown to the grand jury

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to commit the following offenses against the United States: Unauthorized Access to
a Protected Computer, in violation of 18 U.S.C. § 1030(a)(2)(C) and (c)(2)(B)(ii).
C. Manner and Means
6. The manner and means by which CHI and others sought to accomplish
the conspiracy included, among other things, the following:

a. It was a part of the conspiracy that CHI would and did use the
online moniker “icloudripper4you,” and marketed himself as capable of gaining
unauthorized access to iCloud accounts and stealing the content stored therein,
which he referred to as a “ripping;”

b. It was further a part of the conspiracy that CHI would and did
create email accounts for the purpose of impersonating Apple customer support
representatives, which he used to fraudulently obtain Apple IDs and passwords of
unsuspecting victims;

c. It was further a part of the conspiracy that CHI and his
conspirators would and did communicate with one another using a foreign-based,
end-to-end encrypted email service to maintain anonymity;

d. It was further a part of the conspiracy that CHI would and did
gain unauthorized access to the iCloud accounts of hundreds of victims across the
United States, including those residing in Arizona, California, Connecticut, Florida,
Kentucky, Louisiana, Maine, Massachusetts, Ohio, Pennsylvania, South Carolina,

and Texas;
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e. It was further a part of the conspiracy that CHI and his
conspirators would and did seek out nude photographs and videos stored in victim
iCloud accounts, which they referred to as “wins,” and collect, share, and trade
“wins” with one another; and

f. It was further a part of the conspiracy that CHI would and did
maintain at least one terabyte of cloud storage for the purpose of storing content
stolen from victim iCloud accounts, and possessed hundreds of thousands of
photographs and videos of such content.

D. Overt Acts
7. In furtherance of the conspiracy and to effect its objects, CHI and his
conspirators committed the following overt acts, among others, in the Middle
District of Florida and elsewhere:

a. On or about September 2, 2016, Conspirator #1 provided CHI
with the Apple ID and password of A.K.’s iCloud.

b. On or about September 2, 2016, CHI gained unauthorized access
to A.K.’s iCloud, and downloaded its contents.

c. On or about September 2, 2016, CHI provided Conspirator #1
with access to the contents of A.K.’s iCloud.

d. On or about September 2, 2016, Conspirator #1 provided CHI
with the Apple ID and password of J.K.’s iCloud.

e. On or about September 2, 2016, CHI gained unauthorized access
to J.K.’s iCloud, and downloaded its contents. |

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f. On or about September 3, 2016, CHI provided Conspirator #1
with access to the contents of J.K.’s iCloud.

g. On or about April 11, 2017, Conspirator #1 provided CHI with
K.N.’s Apple ID and date of birth.

h. On or about April 12, 2017, CHI gained unauthorized access to
K.N.’s iCloud, and downloaded its contents.

i. On or about May 6, 2018, CHI attempted to gain unauthorized
access to J.K.’s iCloud.

All in violation of 18 U.S.C. § 371.

COUNTS TWO THROUGH FOUR
(Unauthorized Access to a Protected Computer)

8. The allegations contained in Count One of this Information are
incorporated by reference as if fully set forth herein.

9. On or about the dates listed below, in the Middle District of Florida and
elsewhere, the defendant,

HAO KUO CHI,

did knowingly and intentionally access without authorization and in excess of
authorization, and aided and abetted others in the access without authorization and
in excess of authorization, and thereby obtained information, namely, the iCloud
contents of the victims listed below, from a protected computer, as that term is
defined in 18 U.S.C. § 1030(e)(2)(B), namely, a server of a service provider, in

furtherance of a criminal or tortious act in violation of Constitution and the laws of
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the State of Florida, namely, intentional infliction of emotional distress:

 

 

 

 

COUNT | DATE | VICTIM SERVICE PROVIDER
TWO | 9/2/2016] AX. Apple

THREE | 9/2/2016 | JK. Apple

FOUR | 4/10/2017| KN. Apple

 

 

 

 

 

 

In violation of 18 U.S.C. §§ 1030(a)(2)(C), (c)(2)(B)(ii), and 2.
FORFEITURE

1. The allegations contained in Counts One through Four of this
Information are incorporated by reference as if fully set forth herein for the purpose
of alleging forfeitures pursuant to 18 U.S.C. §§ 982(a)(2)(B) and 1030(i).

2. Upon conviction of a violation of 18 U.S.C. § 1030, or a conspiracy to
violate 18 U.S.C. § 1030 (18 U.S.C. § 371), the defendant shall forfeit to the United
States, pursuant to 18 U.S.C. § 982(a)(2)(B), any property constituting, or derived
from, proceeds obtained, directly or indirectly, as a result of such violation and,
pursuant to 18 U.S.C. § 1030(i), any personal property used or intended to be used to

commit or to facilitate the commission of such violation.

3. If any of the property described above, as a result of any act or omission
of the defendant:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;
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d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be
divided without difficulty,

the United States of America shall be entitled to forfeiture of substitute property

under the provisions of 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1).

KARIN HOPPMANN
Acting United States Attorney

By: Ce

Carlton C. Gammons
Assistant United States Attorney

By: wp lsce ge —
e osephine W. Thomas

Assistant United States Attorney
Chief, Criminal Division
